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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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                                             Master File No: 2:15-cv-05146-CAS(PJWx)
  12                                         c/w: 2:15-cv-05173-CAS(PJWx)
  13    In re Silver Wheaton Corp.           [PROPOSED] ORDER AND FINAL
  14    Securities Litigation                JUDGMENT
  15
                                             Hon. Christina A. Snyder
  16
  17
  18        On the 3rd day of August, 2020, a hearing having been held before this Court
  19 to determine: (1) whether the terms and conditions of the Stipulation of Settlement
  20 dated January 31, 2020 (the “Stipulation”) are fair, reasonable and adequate for the
  21 settlement of all claims asserted by (i) the Settlement Class against (ii) Defendants
  22 Silver Wheaton Corp. (“Silver Wheaton”), Randy V. J. Smallwood, Peter Barnes, and
  23 Gary Brown (collectively, the “Silver Wheaton Defendants”), and Deloitte LLP
  24 (Canada) (“Deloitte”) (together, “Defendants”); (2) whether to approve the proposed
  25 Plan of Allocation as a fair and reasonable method to allocate the Net Settlement Fund
  26 among Settlement Class Members; (3) whether to finally certify the Deloitte
  27 Settlement Class; (4) whether a judgment should be entered dismissing the Action
  28

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   1 with prejudice as against all Defendants; and (5) to rule upon such other matters as the
   2 Court deemed appropriate; and
   3         The Court having considered all matters submitted to it at the hearing and
   4 otherwise; and
   5         It appearing that the Postcard Notice substantially in the form approved by the
   6 Court in the Court’s Order Preliminarily Approving Settlement and Providing For
   7 Notice Procedures (the “Preliminary Approval Order”) was mailed to all reasonably
   8 identifiable Settlement Class Members; and
   9         It appearing that the Summary Notice substantially in the form approved by the
  10 Court in the Preliminary Approval Order was published in accordance with that Order
  11 and the specifications of the Court; and
  12         It appearing that a case-specific website was created which, among other things,
  13 permitted electronic filing of claims; and
  14         It appearing that the Internet Notice substantially in the form approved by the
  15 Court in the Preliminary Approval Order was published in accordance with that Order:
  16         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
  17 DECREED THAT:
  18         1.    All capitalized terms used herein have the same meanings as set forth and
  19 defined in the Stipulation, which is incorporated herein.
  20         2.    The Court has jurisdiction over the subject matter of the Litigation,
  21 Plaintiffs, all Settlement Class Members and Defendants to the Litigation, including
  22 all Settlement Class Members who did not file, pursuant to the Court’s Preliminary
  23 Approval Order dated March 9, 2020, a timely request for exclusion from the
  24 Settlement Class by the requisite deadline.
  25         3.    Pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure,
  26 the Court hereby certifies, for purposes of the Settlement only, a settlement class as to
  27 Deloitte (the “Deloitte Settlement Class”) consisting of all persons and entities who
  28 purchased the publicly traded securities of Silver Wheaton (i) on a United States

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   1 Exchange, or (ii) in a transaction in the United States, during the period from March
   2 30, 2011 to July 6, 2015, inclusive, and did not sell such securities prior to July 6,
   3 2015. Excluded from the Deloitte Settlement Class are Defendants, all present and
   4 former officers and directors of Silver Wheaton and any subsidiary thereof, Deloitte
   5 and all of its present and former partners, members of all such excluded persons’
   6 families and their legal representatives, heirs, successors or assigns and any entity
   7 which such excluded persons controlled or in which they have or had a controlling
   8 interest.
   9         4.     The Court finds, for purposes of the Settlement only, that the
  10 prerequisites for a class action under Rule 23(a) and (b)(3) of the Federal Rules of
  11 Civil Procedure have been satisfied in that: (a) the number of Deloitte Settlement Class
  12 Members is so numerous that joinder of all members of the Deloitte Settlement Class
  13 is impracticable; (b) there are questions of law and fact common to the Deloitte
  14 Settlement Class; (c) the claims of the Plaintiffs are typical of the claims of the Deloitte
  15 Settlement Class they seek to represent; (d) Plaintiffs fairly and adequately represent
  16 the interests of the Deloitte Settlement Class; (e) the questions of law and fact common
  17 to the members of the Deloitte Settlement Class predominate over any questions
  18 affecting only individual members of the Deloitte Settlement Class; and (f) a class
  19 action is superior to other available methods for the fair and efficient adjudication of
  20 this Litigation.
  21         5.     On May 11, 2017, the Court certified a class as to the Silver Wheaton
  22 Defendants (the “Silver Wheaton Class”) consisting of all persons and entities who
  23 purchased the publicly traded securities of Silver Wheaton (i) on a United States
  24 exchange, or (ii) in a transaction in the United States, during the period from March
  25 30, 2011 to July 6, 2015, inclusive, and did not sell such securities prior to July 6,
  26 2015. Excluded from the Silver Wheaton Class are Defendants, all present and former
  27 officers and directors of Silver Wheaton and any subsidiary thereof, Deloitte and all
  28 of its present and former partners, members of such excluded persons’ families and

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   1 their legal representatives, heirs, successors or assigns and any entity which such
   2 excluded persons controlled or in which they have or had a controlling interest.
   3         6.     For purposes of the Settlement only, the “Settlement Class” shall consist
   4 of both the Silver Wheaton Class and the Deloitte Settlement Class.
   5         7.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs
   6 are certified as the class representatives on behalf of the Settlement Class and
   7 Plaintiffs’ Counsel previously selected by Plaintiffs and appointed by the Court, is
   8 hereby appointed as Lead Counsel for the Settlement Class (or “Plaintiffs’ Counsel”).
   9         8.     The Court hereby finds that the forms and methods of notifying the
  10 Settlement Class of the terms and conditions of the Settlement met the requirements
  11 of due process and Rule 23 of the Federal Rules of Civil Procedure, Section 21D(a)(7)
  12 of the Exchange Act, 15 U.S.C. § 78u-4(a)(7), as amended by the Private Securities
  13 Litigation Reform Act of 1995; constituted the best notice practicable under the
  14 circumstances; and constituted due and sufficient notice to all persons and entities
  15 entitled thereto of these proceedings and the matters set forth herein, including the
  16 Settlement and Plan of Allocation, to all Persons entitled to such notice. No Settlement
  17 Class Member is relieved from the terms of the Settlement, including the releases
  18 provided for therein, based upon the contention or proof that such Settlement Class
  19 Member failed to receive actual or adequate notice. A full opportunity has been
  20 offered to the Settlement Class Members to object to the Settlement and to participate
  21 in the hearing thereon. The Court further finds that the notice provisions of the Class
  22 Action Fairness Act, 28 U.S.C. § 1715, were fully discharged. Thus, it is hereby
  23 determined that all members of the Settlement Class are bound by this Order and Final
  24 Judgment except those persons listed on Exhibit A to this Order and Final Judgment.
  25         9.     The Settlement is approved as fair, reasonable and adequate, and in the
  26 best interests of the Settlement Class. Plaintiffs and Defendants are directed to
  27 consummate the Settlement in accordance with the terms and provisions of the
  28 Stipulation.

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   1         10.   The Litigation and the Second Amended Complaint (the “Complaint”)
   2 are hereby dismissed with prejudice and without costs.
   3         11.   Plaintiffs, each and every member of the Settlement Class and each of
   4 their respective parent entities, associates, affiliates, subsidiaries, predecessors,
   5 successors, assigns, attorneys, heirs, representatives, administrators, executors,
   6 devisees, legatees, and estates, hereby fully, finally, and forever release, relinquish,
   7 and discharge any and all Released Claims against the Released Persons, and are
   8 hereby permanently barred and enjoined from asserting, commencing, prosecuting,
   9 instituting, assisting, instigating, or in any way participating in the commencement or
  10 prosecution of any action or other proceeding, in any forum, asserting any Released
  11 Claim, either directly, representatively, derivatively, or in any other capacity, against
  12 any of the Released Persons.
  13         12.   Defendants, on behalf of themselves, their heirs, executors, predecessors,
  14 successors, and assigns, hereby fully, finally, and forever release, relinquish, and
  15 discharge any and all of Defendants’ Released Claims against the Plaintiffs,
  16 Settlement Class Members and Plaintiffs’ Counsel, and are hereby permanently
  17 enjoined from prosecuting the Defendants’ Released Claims against the Plaintiffs,
  18 Settlement Class Members and Plaintiffs’ Counsel.
  19         13.   The Court orders that the Plan of Allocation be modified with Plaintiffs’
  20 assent by eliminating the portion of pp. 9:21-23 of the Preliminary Approval Order,
  21 dkt. #487, which provides “in which case the Settlement Class Member’s Recognized
  22 Loss will be reduced by $5 or 1%, whichever is greater.” The Recognized Losses of
  23 Settlement Class Members who filed by mail will not be reduced. With that
  24 modification, the Court hereby finds that the proposed Plan of Allocation is a fair and
  25 reasonable method to allocate the Net Settlement Fund among Settlement Class
  26 Members.
  27         14.   In accordance with 15 U.S.C. § 78u-4(f)(7) and any other applicable law
  28 or regulation, any and all claims which are brought by any Person or entity against

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   1 Defendants (a) for contribution or indemnification arising out of any Settled Claim, or
   2 (b) where the damage to the claimant is measured by reference to the claimant’s
   3 liability to the Plaintiffs or the Settlement Class, are hereby permanently barred and
   4 discharged. Any such claims brought by Defendants against any Person or entity
   5 (other than Persons or entities whose liability to Plaintiffs or the Settlement Class is
   6 extinguished by this Judgment) are likewise permanently barred and discharged.
   7 Further, nothing in this Stipulation shall apply to bar or otherwise affect any claim for
   8 insurance coverage by any Defendant.
   9        15.    The Court finds that all parties and their counsel have complied with each
  10 requirement of Rule 11 of the Federal Rules of Civil Procedure as to all proceedings
  11 herein.
  12        16.    Neither this Order and Final Judgment, the Stipulation, nor any of the
  13 negotiations, documents or proceedings connected with them shall be:
  14               (a)     referred to or used against Defendants or against Plaintiffs or the
  15        Settlement Class as evidence of wrongdoing by anyone;
  16               (b)     construed against Defendants or against Plaintiffs or the
  17        Settlement Class as an admission or concession that the consideration to be
  18        given hereunder represents the amount which could be or would have been
  19        recovered after trial;
  20               (c)     construed as, or received in evidence as, an admission, concession
  21        or presumption against the Settlement Class or any of them, that any of their
  22        claims are without merit or that damages recoverable under the Complaint
  23        would not have exceeded the Settlement Fund; or
  24               (d)     used or construed as an admission of any fault, liability or
  25        wrongdoing by any person or entity, or offered or received in evidence as an
  26        admission, concession, presumption or inference against any of the Defendants
  27        in any proceeding other than such proceedings as may be necessary to
  28        consummate or enforce the Stipulation.

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   1         17.   The Court retains exclusive jurisdiction over Defendants, Plaintiffs and
   2 the Settlement Class Members for all matters relating to the Litigation, including the
   3 administration, interpretation, effectuation or enforcement of the Stipulation, the
   4 Settlement and/or this Order and Final Judgment, and including any application for
   5 fees and expenses incurred in connection with administering and distributing the
   6 settlement proceeds to the Settlement Class Members.
   7         18.   Without further order of the Court, Defendants and Plaintiffs may agree
   8 to reasonable extensions of time to carry out any of the provisions of the Stipulation.
   9         19.   There is no just reason for delay in the entry of this Order and Final
  10 Judgment and immediate entry by the Clerk of the Court is directed pursuant to Rule
  11 54(b) of the Federal Rules of Civil Procedure.
  12         20.   The finality of this Order and Final Judgment shall not be affected, in any
  13 manner, by rulings that the Court may make on Plaintiffs’ Counsel’s application for
  14 an award of attorneys’ fees and expenses and/or award to Plaintiffs.
  15         21.   The Court hereby awards attorneys’ fees of 30% of the Settlement Fund,
  16 or $12,450,000, reimbursement of expenses of $1,090,186.76, and awards Plaintiffs
  17 $12,500 each, for a total of $87,500, all of which the Court finds reasonable. In
  18 reaching this determination, the Court has considered (1) the results achieved; (2) the
  19 risk of litigation; (3) the skill required and the quality of work; (4) the contingent
  20 nature of the fee and the financial burden carried by the plaintiffs; and (5) awards made
  21 in similar cases.
  22         22.   If the Settlement does not become final and effective in accordance with
  23 the terms and conditions set forth in the Stipulation, then this Order and Final
  24 Judgment shall be rendered null and void and be vacated and the Settlement and all
  25 orders entered in connection therewith shall be rendered null and void (except as
  26 otherwise provided in the Stipulation), and the parties shall be deemed to have reverted
  27 to their respective status prior to the execution of this Stipulation, and they shall
  28 proceed in all respects as if the Stipulation had not been executed and the related orders

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   1 had not been entered, preserving in that event all of their respective claims and
   2 defenses in the Litigation, and shall revert to their respective positions in the
   3 Litigation.
   4        IT IS SO ORDERED.
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   6 Dated: August 6, 2020
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   8                                      HON. CHRISTINA A. SNYDER
   9                                      UNITED STATES DISTRICT JUDGE
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